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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 17-1941-GW(Ex)                                             Date      March 12, 2018
 Title             Grant McKee v. Audible, Inc., et al.




 Present: The Honorable           GEORGE H. WU, UNITED STATES DISTRICT JUDGE
                Javier Gonzalez                           Phyllis Preston
                 Deputy Clerk                        Court Reporter / Recorder                    Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                  Jamin Samuel Soderstrom                                   Jedediah Wakefield
                                                                            Annasara G. Purcell
 PROCEEDINGS:                   AUDIBLE’S MOTION TO DISMISS THE SECOND AMENDED
                                COMPLAINT AS TO PLAINTIFFS TAYLOR FISSE AND BRYAN
                                REES FOR LACK OF PERSONAL JURISDICTION [70];

                                AUDIBLE’S MOTION TO DISMISS SECOND AMENDED
                                COMPLAINT AS TO PLAINTIFF GRANT MCKEE [71];

                                PLAINTIFFS’ MOTION FOR CORRECTIVE ACTION [72];

                                AUDIBLE’S MOTION TO COMPEL ARBITRATION AND DISMISS
                                CLAIMS AS TO PLAINTIFFS ERIC WEBER AND MICHAEL
                                ROGAWSKI [73]


The Court’s Tentative Ruling is circulated and attached hereto. Court hears oral argument. For reasons
stated on the record, the above-entitled motions are continued to April 2, 2018 at 8:30 a.m. Counsel may
stipulate to sur-replies by March 22, 2018.




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                                                               Initials of Preparer   JG
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                  Page 1 of 1
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 McKee, et al. v. Audible, Inc. et al., Case No. CV-17-1941-GW-(Ex)
 Tentative Rulings on: (1) Audible’s Motion to Dismiss Plaintiff McKee’s SAC Claims, (2)
 Audible’s Motion to Dismiss for Lack of Personal Jurisdiction as to Plaintiffs Reese and Fisse,
 (3) Audible’s Motion to Compel Arbitration as to Plaintiffs’ Weber and Rogawski, and (4)
 Plaintiffs’ Motion for Corrective Action



 I. Background
         Plaintiffs Grant McKee (“McKee”), Eric Weber (“Weber”), Michael Rogawski
 (“Rogawski” and together with McKee and Weber “the California Plaintiffs”); Taylor Fisse
 (“Fisse”); and Bryan Rees (“Rees” and together with Fisse “the Out of State Plaintiffs”)
 (collectively, “Plaintiffs”) sue Defendant Audible, Inc. (“Audible”) on behalf of a proposed
 nationwide class of consumers for: (1) violation of the California False Advertising Law
 (“FAL”), Cal. Bus. & Prof. Code §§ 17500 et seq.; (2) Common Law Fraud and
 Misrepresentation; (3) violation of Credit Card Accountability Responsibility and Disclosure Act
 of 2009 (“CARD”) and Electronic Fund Transfer Act (“EFTA”), 15 U.S.C. § 1693l-1(a)(2)(B);
 (4) violation of the California Gift Certificate Law (“GCL”), Cal. Civ. Code §§ 1749.45 et seq.;
 (5) Violation of EFTA, 15 U.S.C. § 1693; (6) Common Law Conversion; (7) violation of the
 California Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750 et seq.; (8)
 violation of California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code § 17200 et
 seq. − Violation of California’s Automatic Purchase Renewals Law, Cal. Bus. & Prof. Code §
 17600 et seq.; (9) Violation of North Carolina’s Unfair Competition Law; and (10) Restitution,
 Unjust Enrichment, and Money Had and Received.1 See generally Second Amended Class
 Action Complaint (“SAC”), Docket No. 65.
         A. Allegations Common to All Named Plaintiffs
         Audible, an affiliate of Amazon, Inc., advertises and sells audiobooks and other related
 products and services mainly on its websites, www.audible.com and www.amazon.com. See
 SAC ¶ 24. Plaintiffs allege that upon signing up for an Audible account or free trial, each of
 them viewed representations made by Audible that, in connection with membership: (1) “one
 credit equals one audiobook;” (2) “consumers ‘get 1 book each month;’” (3) “credits ‘do not
                                                        
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   Plaintiff Seth Beals’ claims were dismissed and/or transferred to New York per the Court’s granting of
 Defendant’s Motion to Compel Arbitration as to Seth Beals. See Docket No. 61 (finalizing the Court’s October 26,
 2017 Tentative Ruling (“Ruling II”), Docket No. 53).
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 expire;’” and (4) “members can ‘cancel anytime’ with ‘no strings attached’ while getting to
 “keep all your books.” Id. ¶¶ 5, 8, 13, 16, 20, 26. In addition, in order to sign up for Audible, a
 consumer must, and each Plaintiff (with the exception of Rees) did, designate a specific credit
 card for Audible to charge automatically each month or year, depending on the recurring
 payment plan. Id. ¶¶ 6, 9, 17, 21. Plaintiff further aver that Audible will charge, automatically
 and without notice, a different credit or debit card linked to an Audible member’s Amazon
 account if the card designated during the Audible sign up is declined. Id.; see also, id. ¶¶ 50-51.
           Plaintiffs allege that Audible’s “so called” memberships, are not memberships in the
 traditional sense. Id. ¶ 29. Plaintiffs allege that customers sign up for memberships based on
 representations that (1) “one credit equals one audiobook;” (2) “consumers ‘get 1 book each
 month;’” (3) “credits ‘do not expire;’” and (4) “members can ‘cancel anytime’ with ‘no strings
 attached’ while getting to “keep all your books.” Id. ¶¶ 5, 8, 13, 16, 20, 26. Plaintiffs allege that,
 upon signing up and designating a credit or debit card for payment, members receive one
 Audible Credit (“Credit”). Id. ¶ 29. Plaintiffs allege that each Credit may be exchanged for an
 audiobook within thirty days of receiving the Credit. Id. Plaintiffs also allege that all Credits are
 cancelled immediately if a member cancels their account with Audible or if the Credit is not used
 during a specific amount of time pursuant to Audible’s rollover policy. Id. ¶ 27. Plaintiffs
 further allege that, at the end of a thirty day “free” trial period, customers are automatically
 enrolled in an Audible Membership and begin to incur a monthly membership fee of $14.95,
 charged automatically to their designated method of payment, or a payment method linked to
 that customer’s Amazon account. Id. ¶¶ 29, 50-51. In exchange for this fee, Plaintiffs allege that
 members receive more Credits that expire if they are not used in a certain amount of time
 pursuant to Audible’s Rollover Policies or upon cancellation. Id.
           Plaintiffs allege that, at the sign up stage, Audible fails to disclose certain membership
 and payment terms, including: (1) that Credits expire if not used within a certain period of time;
 (2) that Credits expire upon cancellation; (3) that Audible will begin automatically charging the
 designated card after 30 days; and (4) that Audible will charge any card on a customer’s Amazon
 account in the event the card designated as part of the Audible signup is declined. Id. ¶¶ 27-29.
 Plaintiffs also aver that Audible fails to adequately disclose this information. See id. ¶ 50.2

                                                        
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   Specifically, Plaintiffs allege the following:
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 Plaintiffs also claim that Audible fails to include additional disclosures required by law. See id. ¶
 51. Plaintiffs further allege that, had they known the truth about Audible’s policies and practices
 concerning Credits, expiration terms, cancellation, and automatic payments, they would not have
 signed up for Audible, purchased as many Credits as they did, continued to make payments for
 as long as they did, or paid as much for each Credit as they did. Id. ¶¶ 30, 52.  
              Many of Audible’s audiobooks may be purchased by redeeming one Credit, but Audible
 also sells audiobooks and other goods and services which require consumers to redeem two or
 more Credits for purchase. Id. ¶¶ 37-38. Audible prices its audiobooks and related products and
 services in different increments, consumers may combine Credits to purchase audiobooks and
 related products and services that are priced at more than one credit. Id.                                                                Audible holds sales
 promotions where Credits may be combined (e.g. “buy 3 audiobooks for 2 credits”). Id. ¶ 38.
              Consumers are only able to redeem a Credit for an audiobook, product, or service up to
 the value fixed by Audible. Id. This Credit pricing scheme allows for both “good” and “bad”
 deals. Id. ¶ 40. A consumer may be able to use a Credit to get an audiobook that is worth more
 than what the consumer paid for the membership and Credit, but at the same time a consumer
 may use a Credit to receive an audiobook that is worth less than what a consumer paid for the
 membership and Credit. Id. Consumers may also buy “extra Credits” that are separate from the
 Membership Credits they receive monthly; those extra credits are subject to the same terms and
 practices as Membership Credits. Id. ¶ 39.
              In addition, until April 2017, Audible also let members send Membership Credits as gifts
 to other consumers. Id. ¶ 44. Now, Audible continues to sell what it calls “Gift Memberships”
 that include Gift Credits, which are sold in sets of three, six, or twelve. Id. Gift Credits and

                                                                                                                                                                                
                           Audible fails to disclose to consumers at sign up or at the point of sale all of the
                           information required by law concerning automatically renewed payments and
                           the related cancellation policies and requirements. The limited, incomplete
                           information Audible does disclose to consumers when they sign up—e.g., “After
                           30 days, Audible is $14.95/month” and “cancel anytime”—is not presented
                           clearly and conspicuously next to the “Start Now” or similar button as required
                           by law. The text of the limited disclosures that Audible does make is in small
                           font and is not contrasted or set off from the surrounding text in a manner that
                           clearly calls attention to the language. None of Audible’s limited disclosures
                           contain an email address, phone number, or hyperlink to the cancellation policy,
                           and they do not inform consumers that cancellation must be done on Audible’s
                           standard website even if the consumer signed up on a mobile device and/or on
                           Amazon.com.
 Id. ¶ 50.
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 Membership Credits are essentially the same except Membership Credits have varying expiration
 dates based on Audible’s rollover and cancellation policies, while Gift Credits automatically
 expire six months after the Gift Membership ends. Id. When an Audible member receives a Gift
 Credit, it is intermingled with the Membership Credits in his or her account, and a member
 cannot choose whether to redeem a Membership Credit as opposed to a Gift Credit. Id. ¶ 45. If
 a consumer has a twelve-month Gift Membership, the Gift Credits expire exactly six months
 after the Gift Membership ends. Id.
        As a result of Audible’s policies and procedures, including its cancellation, expiration,
 and rollover policies in combination with the automatic payment feature of its membership
 terms, Plaintiffs allege that Audible receives a substantial windfall each time a member Credit
 expires. See id. ¶ 47. Plaintiffs allege that this windfall occurs because Audible fails to disclose
 its various policies upfront. Id. ¶¶ 47-48. Plaintiffs also allege that Audible’s “free trial” acts as
 a conduit to this system because, in failing to disclose cancellation and rollover policies upfront,
 it anticipates that customers will not cancel their membership within the 30 day period, at which
 point they can only cancel if they are willing to forfeit a Credit that cost them $14.95. Id. ¶ 49.
        B. Plaintiff McKee’s Experience
        McKee is a citizen and resident of Los Angeles County, California. Id. ¶ 15. In June
 2016, McKee signed up for a free thirty day trial with Audible after viewing Audible’s
 advertisements and received one free credit. Id. During the Audible sign-up process, McKee
 saw that: (1) “one credit equals one audiobook;” (2) “consumers will ‘get 1 book each month;”’
 and (3) “credits ‘do not expire.’” Id. Audible also advertised that “consumers can ‘cancel
 anytime’ with ‘no strings attached’ while getting to ‘keep all your books.’” Id. ¶¶ 5-6. McKee
 was required to, and did designate a credit card as part of the sign up process. Id. ¶ 6. He did not
 see any information related to the credit card apart from two disclosures: (1) that Audible cost
 $14.95 per month and (2) that he could cancel anytime. Id. McKee relied on the above
 representations when he signed up for his trial. Id. ¶ 5. Following McKee’s initial thirty day
 trial, Audible began to automatically charge his designated credit card each month, giving him
 one Credit each month in exchange. Id. ¶ 6. In December 2016, McKee cancelled his recurring
 payments for the subscription. Id. ¶ 7. Prior to cancelling, McKee saw, for the first time, that his
 remaining Credits would expire immediately without a refund if he completed his cancellation,
 but he still cancelled. Id. ¶ 7. When McKee cancelled, his two remaining Credits expired and he
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 did not receive a refund from Audible or an audiobook. Id.
              C. The Experience of Plaintiffs Fisse and Rees (The Out of State Plaintiffs)
              Plaintiff Fisse is a citizen and resident of North Carolina. Id. ¶ 8. In October 2013, after
 viewing the same Audible’s advertisements that McKee did, Fisse signed up for a free thirty day
 trial membership, and like McKee, received a Credit. Id. Fisse designated a debit card as her
 required method of payment. Id. ¶ 9. She also did not see any disclosures about automatic
 payments and/or Audible’s cancellation policies when she signed up, other than that Audible cost
 $14.95 a month, and that she could “cancel anytime.” Id. Following Fisse’s initial thirty day
 trial, Audible began to automatically charge her designated debit card each month, giving her
 one Credit each month in exchange. Id. ¶ 10. Over the next few years Fisse purchased and
 redeemed Credits occasionally, and cancelled and reinstated her membership several times. Id.
 During this time Fisse never learned that unredeemed Credits would expire upon cancellation
 and was never informed of Audible’s rollover policies. Id.
              In September 2017, Fisse learned that Audible had charged her boyfriend, Plaintiff Rees’
 debit card on two occasions, apparently in connection with Fisse’s Audible account. See id. ¶
 11.3       Upon receiving this information, Fisse cancelled her Audible account, and lost one
 unredeemed Credit. Id. That cancellation was the first time Fisse learned that cancellation
 would cause her to forfeit her unredeemed Credits, because on every other occasion she had
 cancelled after redeeming all of her available Credits. Id. Fisse further alleges that, starting in
 2015, Audible increased her monthly charge from $14.95 to $15.96, without informing her. Id. ¶
 12.
              Plaintiff Rees is also a resident and citizen of North Carolina. Id. ¶ 13. Rees has never
 signed up for Audible or knowingly purchased any product from Audible. Id. Sometime prior to
 2017, Rees used his debit card on Fisse’s Amazon account to make a single purchase. Id. ¶ 14.
 Amazon automatically stored Rees’ payment information on Fisse’s account and did so without
 informing Rees. Id. Amazon also did not disclose that in providing his debit card on Fisse’s
 Amazon account, Rees could incur charges related to Fisse’s Audible account. Id.
              In August 2017 and again in September 2017, Audible charged Rees’ debit card in the
 amount of $15.96 without any authorization. Id. ¶ 15. Rees subsequently determined that these
                                                        
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   Plaintiffs allege that Rees never signed up for an Audible account, and had designated the card in question in
 connection with his use of Fisse’s Amazon account. Id. ¶ 11.
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 charges were for Fisse’s Audible membership. Id.
        D. Plaintiff Weber’s Experience
        Weber is a citizen and resident of Los Angeles County, California. Id. ¶ 16. In May
 2017, Weber signed up for a free thirty day trial with Audible using his smartphone, after
 viewing Audible’s advertisements and received one free credit. Id. During the Audible sign-up
 process, Weber saw that: (1) “one credit equals one audiobook;” (2) “consumers will ‘get 1 book
 each month;”’ and (3) “credits ‘do not expire.’” Id. Audible also advertised that “consumers can
 ‘cancel anytime’ with ‘no strings attached’ while getting to ‘keep all your books.’” Id. Weber
 was required to, and did designate a credit card as part of the sign up process. Id. ¶ 17. He did
 not see any information relating to the credit card apart from two disclosures: (1) that Audible
 cost $14.95 per month and (2) that he could cancel anytime. Id. Weber relied on the above
 representations when he signed up for his trial. Id. ¶ 16. Following Weber’s initial thirty day
 trial, Audible began to automatically charge a corporate credit stored on his Amazon account, not
 the credit card he designated at sign up. Id. ¶ 18. As a result, Weber’s boss asked him why he
 was making purchases on his corporate credit card. Id. Weber was able to get the charges
 reversed but it took several hours and caused him embarrassment at work. Id. ¶ 19. It also
 caused Weber to delete his corporate card entirely from his Amazon account out of fear that
 Audible and/or Amazon would charge it again without notice. Id.
        D. Plaintiff Rogawski’s Experience
        Plaintiff Rogwaski is a citizen and resident of California. Id. ¶ 20. In September 2014,
 after viewing the same Audible advertisements that McKee did, Rogawski signed up for a free
 thirty day trial membership, and like McKee, received a Credit. Id. Rogawski designated a debit
 card as his required method of payment. Id. ¶ 21. He also did not see any disclosures about
 automatic payments and/or Audible’s cancellation policies when he signed up, other than that
 Audible cost $14.95 a month, and that he could “cancel anytime.” Id. Following Rogawski’s
 initial thirty day trial, Audible began to automatically charge his designated debit card each
 month, giving him one Credit each month in exchange. Id. ¶ 22. Over the next few years
 Rogawski purchased and redeemed Credits occasionally. Id. Rogawski never learned that
 unredeemed Credits would expire upon cancellation and was never informed of Audible’s
 rollover policies until he sought to cancel his membership. Id. Upon learning that cancellation
 would require surrendering his unused Credits, Rogawski chose not to cancel, feeling “trapped”
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 by the undisclosed cancellation policy. Id. ¶ 23. He estimates that he has lost $179.40 in Credits
 due to Audible’s rollover policies over the years. Id.
              E. Procedural History
              Plaintiff McKee originally sued both Audible and Amazon. See Docket No. 1. Both
 Defendants moved to compel him into arbitration. See Docket No. 18. The Court granted-in-
 part and denied-in-part the Defendants’ motions to compel. See Final Ruling on Defendants’
 Motion to Compel Arbitration and Dismiss Claims (“Ruling I”), Docket No. 37.                          The Court
 granted Amazon’s motion to compel because it found that McKee had entered into a binding,
 click-wrap agreement to arbitrate his claims against Amazon. See Ruling I at 17-18 (concluding
 that Amazon’s checkout page provided McKee with sufficient notice of Amazon’s COU and the
 arbitration provision contained therein). The Court denied Audible’s motion to compel because
 it found that McKee never agreed to arbitrate claims against Audible. Id. at 11-17. The Court
 found that Audible’s mobile online sign up process and Audible’s mobile Credit Redemption
 Flow did not afford McKee sufficient notice of Audible’s COU and, for that reason, McKee
 never agreed to the Audible COU. See id. 11-14. The Court also found that McKee’s agreement
 to Amazon’s COU and his subsequent activation of his Amazon Echo did not bind him to
 Audible’s COU. Id. at 15-17.
              Plaintiff filed a First Amended Complaint (“FAC”) on August 11, 2017, adding Seth
 Beals as a second named Plaintiff. See Docket No. 40. Audible successfully moved to compel
 many of Beals’ claims to arbitration because the process by which Beals signed up for Audible
 was different from McKee such that it provided Beals with notice of the Audible COU
 containing the arbitration provision.                     See Final Ruling on Audible’s Motion to Compel
 Arbitration and Dismiss Claims as to Seth Beals, Docket No. 61 (adopting the Court’s October
 26, 2017 Tentative Ruling (“Ruling II”), Docket No. 53, as its final decision). The Court also
 transferred the rest of Beals’ claims to New York pursuant to a venue selection clause contained
 in Audible’s Gift Membership Terms. See Docket No. 64.4
              Audible also moved to dismiss McKee’s claims as alleged in the FAC. See Docket No.
 42. The Court granted in part and denied in part that motion. See Ruling II at 38. The Court
 granted the motion with respect to McKee’s Lanham Act claim with prejudice. Id. The Court

                                                        
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     The Court transferred Beals’ claims after granting Audible’s Motion to Change Venue. See Docket No. 62.
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 also granted the MTD with respect to McKee’s claims for CAPRL, Conversion, and Restitution
 without prejudice. Id.5 McKee was given leave to amend and filed the now operative Second
 Amended Complaint (“SAC”) on December 15, 2017. See SAC. Plaintiffs Rogawski, Weber,
 Fisse, and Rees joined the suit at that time.6 Since the filing of the SAC, Audible has filed three
 motions:
                            (1) Audible’s Partial Motion to Dismiss the SAC as to Plaintiff McKee
                            (“MTD SAC”), Docket No. 71.
                            (2) Audible’s Motion to Dismiss the SAC as to Fisse and Rees for Lack of
                            Personal Jurisdiction (“MTD Fisse & Rees”), Docket No. 70;
                            (3) Audible’s Motion to Compel Arbitration as to Plaintiffs’ Weber and
                            Rogawski (“MTC”), Docket No. 73.

              Plaintiffs have filed a Motion For Corrective Action (“Pl. Mot.”) that is also now pending
 before the Court.7 See Docket No. 72. The Court will address each motion in turn.8
 II.       Audible’s Motion to Dismiss Plaintiffs’ Fisse and Rees For Lack of Personal
 Jurisdiction
              Audible moves to dismiss out of state Plaintiffs Fisse and Rees for lack of personal
 jurisdiction. See generally MTD Fisse & Rees. Plaintiffs have opposed the motion. See
 Opposition to MTD Fisse & Rees (“Fisse & Rees Opp’n”), Docket No. 76. Defendant has filed a

                                                        
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   The Court found that McKee lacked standing to assert his CAPRL claim based on Audible’s alleged charging of
 non-designated credit cards because Audible never charged a non-designated credit card of McKee. See id. at 28.
 The Court also found that, even if McKee had standing to assert such a claim, the FAC’s allegations were
 insufficient for the purposes of Rule 12(b)(6) because Plaintiff did not allege the specific disclosures Audible made
 at the point of sale in connection with its policy of automatic charges. Id. at 36-37. The Court also dismissed
 Plaintiff’s CLRA claim (based on unconscionable terms), his UCL claim (also based on unconscionable contract
 terms), and his claim for Restitution, Unjust Enrichment, and Money Had and Received. Id. at 37-38.
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     Weber has also sued Amazon in a related case also before this Court.    
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     The “corrective action” (which Plaintiffs seek) is:

              an order . . . concerning Defendant Audible, Inc.’s attempt to revise its relevant webpages,
              disclosures, and terms in order to secure new arbitration agreements from putative class members
              without providing complete information that enables such putative class members to make fully
              informed decisions about their rights and options. This Motion . . . seeks an order declaring that
              any arbitration agreements secured by Audible using webpages, disclosures, or terms that were
              revised during the pendency of this action are invalid and unenforceable.

 See Docket No. 72 at 2 of 3.
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   As explained in more detail below, the Court would continue Defendants’ MTC to April 2, 2018 and permit
 Plaintiffs to file a Sur-Reply by March 22, 2018. The Court would also defer consideration of the Plaintiff’s Motion
 for Corrective Action until that time.
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 Reply. See Reply in Support of MTD Fisse & Rees (“Reply Fisse & Rees”), Docket No. 79. In
 short, Defendant argues that the Court lacks personal jurisdiction over it with respect to Fisse and
 Rees’ claims because (1) Audible is not at home in California and (2) Fisse and Rees’ claims do
 not arise from Audible’s activities within California. Id. at 2:12-26.
        Plaintiffs oppose the motion on three grounds. First, Plaintiffs argue that Audible waived
 its 12(b)(2) argument by failing to raise it in response to the FAC. See Fisse & Rees Opp’n at
 1:13-26. Second, Plaintiffs argue that the Court has personal jurisdiction over Audible because
 Fisse and Rees’ claims are based on the same “core set of facts” as those of the California
 Plaintiffs. Id. at 2:1-19. Finally, Plaintiffs argue that the Court can, and should exercise Pendent
 Jurisdiction over Fisse and Rees’ claims. Id. at 2:20-3:5.
        A. Legal Standard-Federal Rule of Civil Procedure 12(b)(2)
        “In personam jurisdiction, simply stated, is the power of a court to enter judgment against
 a person.” SEC v. Ross, 504 F.3d 1130, 1138 (9th Cir. 2007). In filing a complaint, the plaintiff
 bears the burden of establishing the court’s personal jurisdiction over a defendant. See Doe v.
 Unocal Corp., 248 F.3d 915, 922 (9th Cir. 2001). The defendant may move to dismiss the case
 for lack of personal jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(2). When a
 district court acts on a defendant’s motion to dismiss without holding an evidentiary hearing, the
 plaintiff “need make only a prima facie showing of jurisdictional facts to withstand the motion to
 dismiss.” See Doe, 248 F.3d at 922 (citing Ballard v. Savage, 65 F.3d 1495, 1498 (9th Cir.
 1995)); see also Harris Rutsky & Co. Ins. Servs., Inc. v. Bell & Clements Ltd., 328 F.3d 1122,
 1130 (9th Cir. 2002). Where not directly controverted, the plaintiff’s version of the facts is taken
 as true, and any conflicts between the facts contained in the parties’ affidavits must be resolved
 in the plaintiff’s favor. See Doe, 248 F.3d at 922. However, the court “may not assume the truth
 of allegations in a pleading which are contradicted by affidavit.” Mavrix Photo, Inc. v. Brand
 Techs., Inc., 647 F.3d 1218, 1223 (9th Cir. 2011).
        Where there is no applicable federal statute governing personal jurisdiction, the district
 court applies the law of the state in which the district court sits. See id. California permits “[a]
 court of [the] state [to] exercise jurisdiction on any basis not inconsistent with the Constitution of
 this state or of the United States.” Cal. Civ. Proc. Code § 410.10.
        “Due process permits the exercise of personal jurisdiction over a nonresident defendant in
 the following four situations: (1) where the defendant is domiciled in the forum state when the
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 lawsuit is commenced; (2) where the defendant is personally served with process while
 physically present in the forum state; (3) where the defendant consents to jurisdiction; or (4)
 where the defendant has sufficient ‘minimum contacts’ with the forum state, such that the
 exercise of jurisdiction would not ‘offend traditional notions of fair play and substantial justice.’”
 Dole Food Co., Inc. v. Gutierrez, No. CV039416 NM(PJWX), 2004 WL 3737123, *3 (C.D. Cal.
 July 13, 2004) (citing Fitzgerald v. Wilson, 39 Cal.App.4th 1419, 1425-26 (1995)). “With
 respect to the fourth situation, courts may exercise either: (1) general jurisdiction, which arises
 out of a defendant’s ‘continuous and systematic’ contacts with the forum; or (2) specific
 jurisdiction, which arises where a defendant’s specific contacts with the forum have given rise to
 the claim at issue.” Id. (citing Helicopteros Nacionales de Columbia, S.A. v. Hall, 466 U.S. 408,
 414-16 (1984)).
        General personal jurisdiction exists where a nonresident defendant’s affiliations with the
 forum state are so “continuous and systematic as to render them essentially at home in the forum
 state.” Goodyear Dunlop Tires Operations, S.A., et al. v. Brown, 594 U.S. 915, 919 (2011)
 (citing Int’l Shoe Co., 326 U.S. at 317); see also Daimler AG v. Bauman, 134 S.Ct. 746, 749
 (2014). Where general jurisdiction does not exist, the Ninth Circuit has established a three-factor
 test to determine whether the exercise of specific jurisdiction is appropriate:
                (1) The non-resident defendant must purposefully direct his
                activities or consummate some transaction with the forum or
                resident thereof; or perform some act by which he purposefully
                avails himself of the privilege of conducting activities in the
                forum, thereby invoking the benefits and protections of its laws;
                (2) the claim must be one which arises out of or relates to the
                defendant’s forum-related activities; and (3) the exercise of
                jurisdiction must comport with fair play and substantial justice, i.e.
                it must be reasonable.

 Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th Cir. 2004) (quoting Lake v.
 Lake, 817 F.2d 1416, 1421 (9th Cir. 1987)); see also Boschetto v. Hansing, 539 F.3d 1011, 1016
 (9th Cir. 2008). The plaintiff bears the burden on the first two prongs, see Sher v. Johnson, 911
 F.2d 1357, 1361 (9th Cir. 1990), but the burden then shifts to the defendant to make a
 “compelling case” that the exercise of jurisdiction would not be reasonable. See Burger King
 Corp. v. Rudzewicz, 471 U.S. 462, 476-78 (1985). The “reasonableness” prong of the test for
 specific jurisdiction is examined according to the following factors:

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                (1) the extent of purposeful interjection, (2) the burden on the
                defendant to defend the suit in the chosen forum, (3) the extent of
                conflict with the sovereignty of the defendant’s state, (4) the forum
                state’s interest in the dispute; (5) the most efficient forum for
                judicial resolution of the dispute; (6) the importance of the chosen
                forum to the plaintiff’s interest in convenient and effective relief;
                and (7) the existence of an alternative forum.

 Amoco Egypt Oil Co. v. Leonis Navigation Co., 1 F.3d 848, 851 (9th Cir. 1993).
        In the context of class actions, “it is…well settled that [the] requirements [of personal
 jurisdiction and venue] must be satisfied for each and every named plaintiff for the suit to go
 forward.” Shell v. Shell Oil Co., 165 F.Supp.2d 1096, 1107 n.5 (C.D. Cal. 2001) (emphasis in
 original); see also, Alvarez v. NBTY, Inc., No. 17-CV-00567-BAS-BGS, 2017 WL 6059159, *5
 (S.D. Cal Dec. 6, 2017) (“[I]t is well settled law that a defendant can challenge personal
 jurisdiction relating to each named plaintiff in a class action.”).
        B. Analysis
        Plaintiffs argue that Audible’s motion fails because: (1) Audible waived the defense of
 personal jurisdiction, (2) the Court has specific personal jurisdiction over Audible, and (3) the
 Court can, and should exercise Pendent Jurisdiction over Audible for the purposes of Risse and
 Fees’ claims. The Court first examines the substantive question of whether it has personal
 jurisdiction over Audible with respect to the claims brought by the Out of State Plaintiffs.
                1. General Jurisdiction
        Plaintiffs concedes that the Court lacks general jurisdiction over Audible. See Opp’n at
 5:11-12.
                2. Specific Jurisdiction
        As discussed supra, the Ninth Circuit utilizes a three-prong test to analyze specific
 jurisdiction; Plaintiffs bear the burden of establishing the first two prongs. The three prongs
 include: (1) whether Audible purposefully directed its activities at California or purposefully
 availed itself of the privilege of conducting activities in California; (2) whether Plaintiffs’ claims
 arise out of Audible’s forum-related activities; and (3) whether the exercise of jurisdiction is
 reasonable. See Schwarzenegger, 374 F.3d at 802.
                        a. Purposeful Direction
        Defendant’s motion does not address this element, and as such, concedes it.
                        b. Whether Out of State Plaintiffs’ Claims “Arise Out of” Audible’s
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                                         California-Related Activities
              “The Ninth Circuit uses the ‘but for’ test in determining whether a plaintiff’s claim
 ‘arises out of or relates to the defendant’s forum-related activities.’” Harter v. Ascension Health,
 No. CV-15-00343-TUC-RM, 2018 WL 496911, *5 (D. Ariz. Jan. 19, 2018) (quoting Menken v.
 Emm, 503 F.3d 1050, 1058 (9th Cir. 2007)). Under this test, the question is: but for Audible’s
 conduct in California, would the Out of State Plaintiffs’ claims have arisen? See Ballard v.
 Savage, 65 F.3d 1495, 1500 (9th Cir. 1995). Under this test, “[a]ny event in the causal chain
 leading to the plaintiff’s injury is sufficiently related to the claim to support the exercise of
 specific jurisdiction.” Feller v. Transamerica Life Ins. Co., 2:16-CV-01378-CAS(AJWx), 2017
 U.S. Dist. LEXIS 206764, *17 (C.D. Cal. Dec. 11, 2017) (quoting Dubose v. Briston-Myers
 Squibb Co., No. 17-CV-00244-JST, 2017 WL 2775034, *3 (N.D. Cal. June 27, 2017)).
              Here, it is undisputed that Fisse and Rees signed up for and used Audible in North
 Carolina. It is further undisputed that Audible is based in New Jersey, the payments Fisse and
 Rees made to Audible were processed in Washington, and that all decision-making about
 Audible’s policies, advertising, and discloures occurred outside of California. See MTD Fisse &
 Rees at 13 (citing Declaration of Jason Massello In Support of Audible’s MTD Fisse & Rees
 (“Massello Decl.”), Docket No. 70-1 at ¶¶ 5-11). Given the above facts, the Court finds that
 Fisse and Rees’ claims fail the Ninth Circuit’s but for test.9 Indeed, Plaintiffs themselves
 concede that, were Fisse and Rees the only named Plaintiffs in this action, that there would be no
 personal jurisdiction in California. See Fisse & Rees Opp’n at 15.10

                                                        
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   Plaintiffs also request jurisdictional discovery based on their apparent belief that some of Audible’s web-design
 and/or online presence arises from its employees working in California. See Fisse & Rees Opp’n at 4-5. However,
 even if that is the case, Fisse and Rees’ claims still did not arise out of that activity, they arise out of the substance of
 Audible’s advertisements and policies, not the computer code underneath its online platform, no more than a
 contract claim would give rise to specific jurisdiction merely because the paper on which it was printed was
 produced in a different state than where it was drafted and executed. Moreover, as stated above, Plaintiffs concede
 that, without the claims of the California Plaintiffs, the Out of State Plaintiffs cannot establish personal jurisdiction.
 See id. at 15:23-25. Given that concession, the Court would find that any jurisdictional discovery on the specifics of
 Audible’s in state presence would be futile.
           Also, Plaintiffs object to Defendant’s declaration testimony to the extent it summarizes certain business
 records yet fails to produce those records. See id. at 4 n.1. The Court already rejected a similar argument brought in
 opposition to Defendant’s motion to compel Plaintiff Beals to arbitration. See Ruling II at 4-7. Plaintiffs’ argument
 fails here as well. First, Plaintiffs again cite to the evidentiary standards applied at the Fed. R. Civ. Proc. 56 stage as
 those that control here. As it found previously, those standards are not so rigorous as to require compliance with the
 Best Evidence, Authentication, and Hearsay rules. Id. (quoting Fraser v. Goodale, 342 F.3d 1032, 1036-37 (9th Cir.
 2003)).

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              Plaintiffs’ argument in opposition to Defendant’s motion largely ignores settled law. For
 example, Plaintiffs argue that because unnamed out of state plaintiffs would not need to establish
 personal jurisdiction, “it makes no sense” that named plaintiffs should have to. See Fisse & Rees
 Opp’n at 11:9-19. However, that is the law. See Shell, 165 F.Supp.2d at 1107 n.5 (emphasis in
 original); see also, Alvarez, 2017 WL 6059159 at *5 (“[I]t is well settled law that a defendant
 can challenge personal jurisdiction relating to each named plaintiff in a class action.”).
              Plaintiffs also painstakingly attempt to distinguish the present case from BMS by citing
 recent district court cases that have declined to apply BMS to class actions. See Fisse & Rees
 Opp’n at 11-12 (discussing In Re Chinese-Manufactured Drywall Products Liability Litigation,
 No. 09-2047, 2017 WL 5971622, *13-21 (E.D. La. Nov. 30, 2017). As Defendant points out, In
 Re Chinese-Manufactured Drywall did not address personal jurisdiction for named out of state
 plaintiffs asserting claims against an out of state defendant. Like many of the cases that it cites
 to, In Re Chinese-Manufactured Drywall simply confirmed what the Supreme Court said in
 BMS: that the Majority’s holding did not necessarily apply to actions brought in federal courts.
 See 2017 WL 5971622 at 11 (“The BMS Court, nonetheless, made its analytical due process
 framework clear: ‘Our settled principles regarding specific jurisdiction control this case,’ and
 ‘[o]ur straightforward application in this case of settled principles of personal jurisdiction will
 not result in the parade of horribles that respondents conjure up.’”) (quoting BMS, 137 S. Ct. at

                                                                                                                                                                                
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     Defendant also cites to the Supreme Court’s recent decision in Bristol-Meyers Squibb Co. v. Superior Court
 (“BMS”), 137 S. Ct. 1773 (2017) for additional support. BMS concerned a mass tort action in California state court
 in which plaintiffs alleged state-law claims based on injuries allegedly caused by a BMS drug called Plavix. 137 S.
 Ct. 1773 at 1778. BMS, a citizen of Delaware and New York, challenged the Superior Court’s personal jurisdiction
 over it. Id. at 1777-78. The United States Supreme Court rejected the California Supreme Court’s endorsement and
 application of California’s “sliding scale approach to specific jurisdiction,” in which the California Supreme Court
 “permitted the exercise of specific jurisdiction based on a less direct connection between BMS’s forum activities
 and plaintiffs’ claims than might otherwise be required.” Id. at 1778-79 (citations and quotations omitted). The
 Court determined that its “settled principles” regarding specific jurisdiction controlled and required an “affiliation
 between the forum and the underlying controversy, principally, [an] activity or an occurrence that takes place in the
 forum State.” Id. at 1780-81. The Court reasoned that the nonresident plaintiffs in BMS failed to allege that they
 obtained, ingested, or were prescribed Plavix in California, and therefore these plaintiffs failed to identify an
 “adequate link” between California and their claims. Id. at 1781. The Court also reasoned that “all the conduct
 giving rise to the nonresidents’ claims occurred elsewhere.” Id. at 1782. The Court left open the question as to
 whether “the Fifth Amendment imposes the same restrictions on the exercise of personal jurisdiction by a federal
 court.” Id. at 1783-84 (citations omitted).
           Here, Defendant contends that the principles announced in BMS foreclose the Out of State Plaintiffs’
 claims because those claims are not affiliated with Audible’s activities within California. While the Court would
 agree, it finds sufficient support for that conclusion within the Ninth Circuit’s current “but for” approach to specific
 jurisdiction. The Court notes that BMS expressly limited its holding to state court actions. Id. at 1784. BMS did not
 address federal courts or nationwide class actions filed in federal court. Id.  
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 1781-83); see also, id. at 16 (“BMS does not speak to or alter class action jurisprudence.”);
 Fitzhenry-Russell v. Dr. Pepper Snapple Group, Inc., No. 17-CV-000564-NC, 2017 WL
 4224723, *5 (N.D. Cal. Oct. 26, 2017) (“Based on the parties’ arguments, the Court is not
 persuaded to extend Bristol-Myers to the class action context on these facts.”). Thus, although
 both parties’ discussion of BMS and its aftermath is informative, it has of limited importance
 here.
         As named Plaintiffs in this action, Fisse and Rees must establish personal jurisdiction
 under the Ninth Circuit’s test. See Shell, 165 F.Supp.2d at 1107 n.5; Alvarez, 2017 WL 6059159
 at *5. They cannot do so given their claims do not arise from Audible’s California activities.
 See Menken, 503 F.3d at 1058; Ballard, 65 F.3d at 150; cf. Feller, 2017 U.S. Dist. LEXIS
 206764 at *20 (denying motion to dismiss for lack of personal jurisdiction where “but-for…the
 work of [defendant’s California] employees…. the plaintiff’s claims for breach of contract would
 not have arisen).
         Plaintiffs also argue that Fisse and Rees’ claims have the requisite connection to
 California because Audible engages in the same activity in California as it does in North
 Carolina. See Fisse & Rees Opp’n at 13:14-14:10. Plaintiffs essentially argue that the specific
 jurisdiction requirements are met “collectively” amongst the different named plaintiffs. See id.
 While Plaintiffs’ argument sounds reasonable enough, there is no case authority endorsing such
 an approach. Moreover, the Court agrees with Defendant that such a liberalization of specific
 jurisdiction would appear to run counter to the “well established” principles of Due Process
 extrapolated in BMS:
                The mere fact that other plaintiffs were prescribed, obtained, and
                ingested Plavix in California − and allegedly sustained the same
                injuries as did the nonresidents − does not allow the State to assert
                specific jurisdiction over the nonresidents’ claims . . . . [A]
                defendant’s relationship with a . . . third party, standing alone, is an
                insufficient basis for jurisdiction. This remains true even when
                third parties (here, the plaintiffs who reside in California) can bring
                claims similar to those brought by the nonresidents . . . . What is
                needed − and what is missing here − is a connection between the
                forum and the specific claims at issue.

 See 137 S. Ct. at 1781 (emphasis added).
         Further, Plaintiffs’ “collective” theory of specific jurisdiction runs counter to the rule that

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 personal jurisdiction, like venue, must be assessed for each named Plaintiff.             Plaintiffs’
 argument is essentially the rule Justice Sotomayor endorsed as the lone dissenting voice in BMS:
                Respondents’ claims against Bristol-Myers concern conduct
                materially identical to acts the company took in California: its
                marketing and distribution of Plavix, which it undertook on a
                nationwide basis in all 50 States. That respondents were allegedly
                injured by this nationwide course of conduct in Indiana,
                Oklahoma, and Texas, and not California, does not mean that their
                claims do not “relate to” the advertising and distribution efforts
                that Bristol-Myers undertook in that State. All of the plaintiffs −
                residents and nonresidents alike − allege that they were injured by
                the same essential acts. Our cases require no connection more
                direct than that.

 BMS, 137 S. Ct. at 1786 (Sotomayor, S. dissenting). Unfortunately for Plaintiffs, the eight other
 Justices found otherwise.
                        c. Conclusion
        In sum, the Court would find that Plaintiffs Fisse and Rees cannot establish the required
 elements for specific jurisdiction. Because they concede that this Court lacks general jurisdiction
 over Defendant, they have failed to establish a prima facie case for personal jurisdiction.
                2. Audible Did Not Waive Its 12(b)(2) Defense
        “[U]nder Federal Rule of Civil Procedure 12(h), it is black letter law that a defendant
 waives a lack of personal jurisdiction defense when it fails to raise this defense in an initial
 motion to dismiss.” Alvarez, 2017 WL 6059159 at 4 (citing Fed. R. Civ. Pro. 12(h)(1)); see also,
 Glater v. Eli Lilly & Co., 712 F.2d 735, 738 (1st Cir. 1983) (“[Rule 12(h)(1)] provide[s] a strict
 waiver rule with respect to [the lack of personal jurisdiction] defense. . . . It is clear under this
 rule that defendants wishing to raise [this] defense must do so in their first defensive move, be it
 a Rule 12 motion or a responsive pleading.”). An exception to this strict rule is when such a
 defense was unavailable to defendants at the time they filed their initial motion. See Fed. R. Civ.
 Pro. 12(g); Glater, 712 F.2d at 738.
        Plaintiffs argue that Defendant waived personal jurisdiction by failing to assert the
 defense when it responded to the FAC, which included similar claims brought by Michigan
 resident, then Plaintiff Seth Beals. See Fisse & Rees Opp’n at 5:18-7:2; see also generally FAC.
 Defendant counters that its decision to attempt to force Beals to arbitrate his claims, as opposed
 to seek dismissal on Rule 12(b)(2) grounds, has no effect on Defendant’s ability to assert the
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 same defense against Fisse and Rees, both of whom first appeared in the SAC. See Reply Fisse
 & Rees at 11:5-14.
        The Court would agree with Defendant. Plaintiffs do not cite a single case standing for
 the proposition that a defendant that participates in litigation against one party waives defenses
 as to a yet to be named party. See id. This is not surprising given Rule 12(g) limits waiver in
 situations where the defense was unavailable when the first responsive pleading was filed. See
 Glater, 712 F.2d at 738. Defendant could not have moved to dismiss Fisse and Rees’ claims for
 lack of personal jurisdiction when it filed its first responsive pleading to the FAC because Fisse
 and Rees had not yet brought claims against Defendant. See Sloan v. GM, LLC, No. 16-CV-
 07244, 2018 U.S. Dist. LEXIS 22176, * 17-18 (N.D. Cal. Feb. 7, 2018) (finding that defendant’s
 failure to raise personal jurisdiction in its motion to dismiss the FAC waived that defense as to
 the “original named plaintiffs” but not “with respect to the plaintiffs newly named in the SAC”).
        Further, even if some combination of procedural and factual circumstances could
 conceivably justify Plaintiffs’ “waiver as to one equals waiver as to all” approach, that is not the
 case here.    Here, Defendant successfully moved to compel Beals, a Michigan resident, to
 arbitration. See Ruling II. Soon thereafter, the SAC was filed, at which point the parties
 stipulated to extend the date by which Defendant was to “answer or otherwise respond to the
 second amended complaint.” See Docket No. 68 (emphasis added). Finally, as Defendant notes
 in its Reply, there are significant differences between the claims Fisse and Rees allege in the
 SAC and those alleged by Beals in the FAC. See Reply Fisse & Rees at 12:2-15.
        In sum, Defendant did not waive its 12(b)(2) defense.
                3. Pendent Jurisdiction
        Plaintiffs’ third and final argument in opposition relies on the doctrine of “Pendent
 Personal Jurisdiction.” See Fisse & Rees Opp’n at 17:19-19:4.
        Under the doctrine of pendent personal jurisdiction “a court may assert…personal
 jurisdiction over a defendant with respect to a claim for which there is no independent basis of
 personal jurisdiction so long as it arises out of a common nucleus of operative facts with a claim
 in the same suit over which the court does have personal jurisdiction.” Action Embroidery Corp.
 v. Atl. Embroidery, Inc., 368 F.3d 1174, 1180 (9th Cir. 2004) (citing and endorsing sister-circuit




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 decisions).11 Such jurisdiction is typically exercised where “one or more federal claims for
 which there is nationwide personal jurisdiction are combined in the same suit with one or more
 state or federal claims for which there is not nationwide personal jurisdiction.” Id. “Whether to
 exercise pendent personal jurisdiction is afforded to the discretion of the district court.” Sloan,
 2018 U.S. Dist. LEXIS 21176 at *29 (citing Action Embroidery, 368 F.3d at 1180).
              Plaintiffs argue that the Court should assert pendent personal jurisdiction over the Out of
 State Plaintiffs’ claims because those claims arise out of the same common nucleus of operative
 facts as those of the California Plaintiffs, i.e. Audible’s disclosures and various cancellation/
 rollover policies. See Fisse & Rees Opp’n at 18. According to Plaintiffs, this would avoid
 unnecessary piecemeal litigation where California named Plaintiffs would litigate their claims
 here, while representing unnamed North Carolina plaintiffs at the same time that Plaintiffs Fisse
 and Rees would litigate their claims in North Carolina, while representing unnamed California
 residents. Id. In essence, Plaintiffs advocate for pendent personal jurisdiction as a solution to
 the “parade of horribles” prophesized in Sotomayor’s BMS Dissent and dismissed by the
 Majority. See BMS, 137 S. Ct. at 1783 (“Our straightforward application in this case of settled
 principles of personal jurisdiction will not result in the parade of horribles that respondents
 conjure up.”; id. at 1789 (“The majority chides respondents for conjuring a “parade of
 horribles,”…but says nothing about how suits like those described here will survive its opinion
 in this case. The answer is simple: They will not.”) (Sotomayor, S. dissenting). A popular
 treatise on class actions has noted that such an approach may represent a solution to the problems
 presented by the principles discussed in BMS to nationwide class actions litigation brought

                                                        
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    In Action Embroidery, the district court had dismissed the plaintiffs’ California Cartwright Act claims against
 out-of-state defendants in the absence of any related contacts with California. The plaintiffs’ federal Sherman Act
 claims were permitted to proceed because that statute creates nationwide personal jurisdiction through a provision
 that permits nationwide service of process. See 15 U.S.C. § 22. On appeal, the Ninth Circuit reversed, reaffirming
 the principle that “[p]ersonal jurisdiction must exist for each claim asserted against a defendant,” and recognized
 that California’s long-arm statute “would not allow the exercise of personal jurisdiction over the[] state-law claims if
 they were standing alone.” Id. However, the Ninth Circuit observed that several other circuits had adopted the
 doctrine of “pendent personal jurisdiction” in which “a court may assert pendent personal jurisdiction over a
 defendant with respect to a claim for which there is no independent basis of personal jurisdiction so long as it arises
 out of a common nucleus of operative facts with a claim in the same suit over which the court does have personal
 jurisdiction.” Id. Adopting the doctrine, the Ninth Circuit held that “[w]hen a defendant must appear in a forum to
 defend against one claim, it is often reasonable to compel that defendant to answer other claims in the same suit
 arising out of a common nucleus of operative facts.” Id. at 1181. It found that “judicial economy, avoidance of
 piecemeal litigation, and overall convenience of the parties is best served by adopting this doctrine.” Id.
  
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 against defendants outside of their home states. See William B. Rubenstein, 2 Newberg on Class
 Actions ¶ 6:26 (5th Ed.) (“[S]ome commentators have developed an idea of ‘pendent’ personal
 jurisdiction….  According to this theory, by virtue of the fact that [a state] would have personal
 jurisdiction over [an out of state defendant] to adjudicate…claims [brought by its own citizens] it
 could then adjudicate the…claims of the rest of the nationwide class using pendent personal
 jurisdiction.”).12
               Defendant counters that pendent personal jurisdiction “can provide a basis for hearing
 additional claims between the same parties already properly before a court, [but] it does not
 create jurisdiction as to additional parties.” See Reply Fisse & Rees at 9 (citing Get In Shape
 Franchise, Inc. v. TFL Fishers, LLC, 167 F.Supp.3d 173, 194 (D. Mass. 2016)). According to
 Defendant, pendent jurisdiction only operates to extend personal jurisdiction over additional
 claims between the same parties. This appears to be a limitation recognized by several district
 courts outside the Ninth Circuit. See, e.g., Get In Shape, 167 F.Supp.3d at 194 (finding that
 “doctrine of pendent personal jurisdiction allows a court to exercise personal jurisdiction over
 additional claims against a single defendant, not over additional defendants.”); Spratley v. FCA
 US LLC, 3:17-CV-0062, 2017 WL 4023348, *7 (N.D.N.Y. Sep. 12, 2017) (rejecting theory of
 “pendent personal jurisdiction” and dismissing claims against of out-of-state plaintiffs’ state-law
 claims against Chrysler alleging concealing of a known safety defect); DeMaria v. Nissan N.
 Am., Inc., No. 15-C-3321, 2016 WL 374145, *8 (S.D. Ill. Feb. 1, 2016) (rejecting theory of
 pendent personal jurisdiction for out-of-state plaintiffs “where each plaintiff’s claim is predicated
 on the law of the particular state where he or she purchased a car and the claims of the other
 plaintiffs as alleged remain unrelated to anything that transpired in Illinois”).
                                                        
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  Rubenstein discusses this approach through a hypothetical class action brought against a drug manufacturer
 Merck, arising out of its sale of a drug Vioxx, to examine the personal jurisdiction problems unique to this setting:

                      Finally, the most interesting situation for class action practice arises out of the
                      possibility that a nationwide class action is filed against Merck in a forum
                      (Louisiana) that is neither Merck’s headquarters nor place of incorporation (New
                      Jersey). Louisiana’s long-arm statute authorizes jurisdiction so long as its
                      assertion is constitutional, so the constitutional issue presents the sole concern.
                      Specifically, the precise question is whether the Louisiana forum has sufficient
                      jurisdiction arising out of Merck’s local sale of Vioxx − and its other contacts
                      with Louisiana − to adjudicate claims against Merck arising out of Merck’s sale
                      of Vioxx to consumers, and their use of the drug, in other states.

     See id.
                
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        Plaintiffs fail to cite to a single case applying pendent jurisdiction in the manner they
 advocate. Instead they cite more traditional pendent jurisdiction cases involving state law claims
 brought alongside federal claims. See Fisse & Rees Opp’n at 18 (citing cases). The Court was
 able to locate a recent example in the Northern District of California where a court exercised
 pendent personal jurisdiction in the manner advocated here and described in Newberg: to keep
 claims brought by out of state, named plaintiffs as part of a nationwide class action brought in
 California, against an out of state defendant. See Sloan, 2018 U.S. Dist. LEXIS at 32-33.
         Sloan is a product defect case brought in California on behalf of a nationwide class. See
 id. at 6. The named plaintiffs in the action included both California residents and non-California
 residents. Id. Following the Supreme Court’s ruling in BMS the defendant moved to dismiss the
 out of state Plaintiffs on personal jurisdiction grounds. Id. at 11-12. The court first ruled that
 the defendant had waived its personal jurisdiction defense as to those named plaintiffs that
 appeared in the first two renditions of the complaint.         Id. at 12-17.       However, the Court
 addressed the merits of the personal jurisdiction defense as to those out of state plaintiffs first
 named in the SAC. Id. at 17-18.
        The plaintiffs in Sloan conceded that they could not establish personal jurisdiction under
 the traditional specific jurisdiction approach for the same reason Fisse and Rees cannot do so
 here: the specific disputes did not arise out of GM’s activities in California. See id. at 27-28.
 However, the plaintiffs argued that the court should use its discretion under Action Embroidery
 to exercise “pendent” jurisdiction over the out of state plaintiffs’ claims. Id.
        After providing a detailed analysis of both BMS and Action Embroidery, Judge Chen
 accepted plaintiffs’ argument and denied the motion to dismiss. Id. at 37-38. In doing so, he
 noted that “the Ninth Circuit has not limited the doctrine of pendent personal jurisdiction to
 when a relationship is shown to ‘other claims by the same plaintiff’ but rather to ‘other claims in
 the same suit.’” Id. at 30. However, Judge Chen also noted that, at least in his view, “it is by no
 means clear whether Action Embroidery’s pendent personal jurisdiction doctrine extends
 categorically to claims brought by different plaintiffs.” Id. at 31. Nonetheless, he concluded that
 several “case specific” factors weighed in favor of extending pendent personal jurisdiction in that
 case. Id. at 31. One such consideration was the representative nature of the action, and, the fact
 that the court would retain jurisdiction over claims brought on behalf of unnamed, out of state
 plaintiffs. Id. at 31-32. Another important, case specific consideration in Sloan was the fact that
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 the defendant had waived its personal jurisdiction defense with respect to several other named,
 out of state plaintiffs. Id. at 32. As a result, those claims would proceed anyways. Id.         The
 court’s final consideration was the potential for unnecessary piecemeal litigation. Id. at 33.
        Here, the Court would decline to exercise its discretion to assert pendent personal
 jurisdiction in the manner advocated by Plaintiff, and done in Sloan. The Court does not
 disagree with Sloan’s broad reading of Action Embroidery to potentially cover claims brought by
 additional plaintiffs against the same party. As Judge Chen accurately points out, the Ninth
 Circuit does not foreclose this possibility. See id. at 30 (citing Action Embroidery, 368 F.3d at
 1181 (“[w]hen a defendant must appear in a forum to defend against one claim, it is often
 reasonable to compel that defendant to answer other claims in the same suit arising out of a
 common nucleus of operative facts); id. (“a court may assert pendent personal jurisdiction over a
 defendant with respect to a claim for which there is no independent basis of personal jurisdiction
 so long as it arises out of a common nucleus of operative facts with a claim in the same suit over
 which the court does have personal jurisdiction”)). Furthermore, as detailed earlier, the Court
 also agrees that BMS is not determinative here because its holding was expressly limited to state
 courts and did not involve a representative action. See supra at 13 n.8.
         However, one key fact in Sloan is missing here: there are no other out of state named
 plaintiffs in this action apart from Fisse and Rees. See Ruling II (compelling Beals’ claims to
 arbitration). For that reason, unlike in Sloan, extending jurisdiction over Fisse and Rees would
 have the effect of requiring Defendant to litigate claims under both California and North
 Carolina law against named Plaintiffs from both states. It would also result in this Court, as
 opposed to a court more familiar with the law of North Carolina, to preside over Plaintiffs’ North
 Carolina law claims. Moreover, the Court is skeptical that Plaintiffs will be able to certify a
 nationwide class anyways, given the choice of law issues that are likely to arise in a 50 state
 action. As a result of these considerations, keeping Fisse and Rees’ claims would not promote
 efficiency or preserve resources in the same manner it would were this case procedurally
 identical to Sloan.
        C. Conclusion
        For the reasons stated above, the Court would grant Defendant’s motion to dismiss Fisse
 and Rees’ claims for lack of personal jurisdiction.       The Court would dismiss their claims
 WITHOUT prejudice.
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     III. Audible’s Partial Motion to Dismiss As to Plaintiff McKee
           Defendant moves to dismiss Plaintiff McKee’s Fifth (Violation of the EFTA), Seventh
 (CLRA violation based on unconscionable conduct), Eighth (Cal. Bus. & Prof. Code § 17200
 claim based on violation of CAPRL), and Tenth (Restitution, Unjust Enrichment, and Money
 Had and Received) causes of action under Rule 12(b)(6). See MTD SAC at 1. The Court
 dismissed three of these claims as pled in the FAC without prejudice on December 6, 2017. See
 Ruling II at 38. The exception is Plaintiffs’ newly asserted EFTA claim. Plaintiff McKee
 opposes the motion.       See Plaintiff McKee’s Opposition to Defendant’s Motion to Dismiss
 (“McKee Opp’n”), Docket No. 75. Defendant has filed a reply. See Reply Brief In Support of
 Audible’s Motion to Dismiss Second Amended Complaint As To Plaintiff McKee (“MTD
 Reply”), Docket No. 81.
           A. Legal Standard-Rule 12(b)(6)
           Under Rule 12(b)(6), a defendant may move to dismiss for failure to state a claim upon
 which relief can be granted. Fed. R. Civ. P. 12(b)(6). A complaint may be dismissed for failure
 to state a claim for one of two reasons: (1) lack of a cognizable legal theory or (2) insufficient
 facts under a cognizable legal theory. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007); see
 also Mendiondo v. Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008) (“Dismissal
 under Rule 12(b)(6) is appropriate only where the complaint lacks a cognizable legal theory or
 sufficient facts to support a cognizable legal theory.”).
           In deciding a 12(b)(6) motion, a court “may generally consider only allegations contained
 in the pleadings, exhibits attached to the complaint, and matters properly subject to judicial
 notice.” Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007). Further, in deciding a
 12(b)(6) motion the court must construe the complaint in the light most favorable to the plaintiff,
 accept all allegations of material fact as true, and draw all reasonable inferences from well-
 pleaded factual allegations. Gompper v. VISX, Inc., 298 F.3d 893, 896 (9th Cir. 2002); Sprewell
 v. Golden State Warriors, 266 F.3d 979, 988 (9th Cir.), amended on denial of reh’g, 275 F.3d
 1187 (9th Cir. 2001); Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337-38 (9th Cir. 1996).
           A court is not required to accept as true legal conclusions couched as factual
 allegations. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Where a plaintiff facing a 12(b)(6)
 motion has pled “factual content that allows the court to draw the reasonable inference that the
 defendant is liable for the misconduct alleged,” the motion should be denied. Id.; Sylvia
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 Landfield Trust v. City of L.A., 729 F.3d 1189, 1191 (9th Cir. 2013). But if “the well-pleaded
 facts do not permit the court to infer more than the mere possibility of misconduct, the complaint
 has alleged – but it has not show[n] . . . the pleader is entitled to relief.” Ashcroft, 556 U.S. 662,
 679 (2009) (citations omitted). Rule 12(b)(6) dismissals are “especially disfavored in cases
 where the complaint sets forth a novel legal theory that can best be assessed after factual
 development.” McGary v. City of Portland, 386 F.3d 1259, 1270 (9th Cir. 2004) (citations
 omitted).
        B. Analysis
                1. McKee’s EFTA Claim Fails
        McKee’s fifth cause of action is brought under EFTA and is based on the fact that
 Defendant automatically charged his credit card each month without authorization. See SAC ¶¶
 6, 97-113.   Defendant argues that McKee’s claim fails as a matter of law because the EFTA
 does not cover credit card transactions. See MTD SAC at 6:2-7:9.
        “The EFTA creates a ‘framework [of] rights, liabilities, and responsibilities of
 participants in electronic fund transfer systems.’” Sanford v. Memberworks, Inc., 625 F.3d 550,
 560 (9th Cir. 2012) (quoting 15 U.S.C. § 1693(b)). “The Act applies to electronic fund transfers
 from a ‘consumer account,’ which is defined as a ‘demand deposit, savings deposit, or other
 asset account.’”    Id.   (quoting § 1693a(2)).       The EFTA “does not apply to credit-based
 transactions.” Id.; Cf. Bass v. Stolper, Koritzinsky, Brewster & Neider, S.C., 111 F.3d 1322,
 1328 (7th Cir. 1997) (noting that the EFTA governs “electronic cash transactions” and is “void
 of any credit reference or requirement”); Pelletier v. Pac. Webworks Inc., No. CIV-S-09-3503-
 KJM-KJN, 2012 WL 43281, *7 (E.D. Cal. Jan. 9, 2012) (relying on Sanford and finding that use
 of a credit card as opposed to a debit card was an “operative fact” that prevented the application
 of the relation back doctrine to the plaintiff’s EFTA claim); WineStyles, Inc., v. GoDaddy.com,
 LLC, No. CV 12-583-PHX-SRB, 2012 WL 8254047, at *4 n.2 (D. Ariz. Aug. 15, 2012)
 (identifying plaintiff’s use of a credit card as opposed to a debit card as an alternative basis for
 granting motion to dismiss EFTA claim).
        Here, McKee concedes Audible only charged the credit card he designated when he
 signed up for Audible. See McKee Opp’n at 13:1-6; SAC ¶ 6. He nonetheless argues that the
 EFTA covers credit card transactions. See id. at 13:7-14:9. McKee fails to address the outcome
 determinative Ninth Circuit holding in Sanford that the EFTA “does not apply to credit-based
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 transactions.” 625 F.3d at 560. As such, the Court would find that his EFTA claim is precluded
 by Sanford. Id.; see, e.g., WineStyles, 2012 WL 8254047, at *4 n.2.13
              In sum, the Court would dismiss McKee’s EFTA claim with prejudice. The Court would
 not permit amendment given McKee’s admission that he did not use a debit card in connection
 with his Audible use. See Cervantes v. Countrywide Home Loans, Inc., 656 F.3d 1034, 1041
 (9th Cir. 2011) (“[A] district court may dismiss without leave where…amendment would be
 futile.”).
                            2. McKee States a CLRA Claim Based On Unconscionability
              McKee’s seventh cause of action is brought under the CLRA based on multiple theories,
 including that Defendant’s Credit expiration policies are unconscionable. See SAC ¶¶ 127-134.
 Defendant moves to dismiss McKee’s claim to the extent it is based on this theory. See MTD
 SAC at 8-9. The Court previously held that McKee’s FAC stated a CLRA claim based on
 another theory: that Defendant made misrepresentations to McKee and other users. See Ruling II
 at 33-35. Alternatively, the Court dismissed McKee’s CLRA claim to the extent it was based on
 alleged unconscionable contract terms. See id. at 35. The Court concluded as such because the
 FAC did not specifically allege that Audible’s cancellation terms were both procedurally and
 substantively unconscionable. Id.
              The CLRA prohibits certain “unfair methods of competition and unfair or deceptive acts
 or practices undertaken by any person in a transaction intended to result or that results in the sale
 or lease of goods or services.”                           Cal. Civ. Code § 1770.   McKee identifies two relevant
 provisions:
                            (1) Cal. Civ. Code § 1770(a)(14) which prohibits: “Representing
                            that a transaction confers or involves rights, remedies, or
                            obligations that it does not have or involve, or that are prohibited
                            by law; and
                            (2) Cal. Civ. Code § 1770(a)(19) which prohibits: “Inserting an
                            unconscionable provision in the contract.”

                                                        
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    McKee’s arguments are unavailing in the face of Sanford. He argues that the statute should be construed broadly
 and that the text and implementing regulations do not foreclose the possibility that credit transactions could qualify.
 He also cites, misleadingly to a string of EFTA cases that reference credit cards. However, as Defendant rightly
 notes in its Reply, none of those cases actually recognized an EFTA claim based exclusively on credit card
 transactions. Further, none of these cases would get around Sanford. That being said, because Defendant did not
 include any reference to Sanford until its Reply, the Court would entertain a brief oral argument from Plaintiff as to
 why Sanford is not determinative on this issue.

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 See SAC ¶ 127.
              Defendant’s MTD only targets the second provision here, that Audible’s credit expiration
 policy is unconscionable.14 As the Court noted in its previous ruling, a court may deem a
 contract provision unconscionable if it is both procedurally and substantively unconscionable.
 Byler v. Deluxe Corp., 222 F. Supp. 3d 885, 903 (S.D. Cal. 2016).
              “[A] finding of unconscionability requires ‘a procedural and a substantive element, the
 former focusing on oppression or surprise due to unequal bargaining power, the latter on overly
 harsh or one-sided results.’” AT&T Mobility LLC, 131 S.Ct. at 1746 (quoting Armendariz v.
 Foundation Health Psychcare Servs., Inc., 24 Cal.4th 83, 114 (2000)). Both procedural and
 substantive unconscionability must be present, but “they need not be present in the same degree.”
 Armendariz, 24 Cal.4th at 114.
                                         a. Procedural Unconscionability
              Procedural unconscionability focuses on two elements: oppression and surprise.
 “‘Oppression arises from an inequality of bargaining power that results in no real negotiation and
 an absence of meaningful choice,’ while ‘[s]urprise involves the extent to which the supposedly
 agreed-upon terms are hidden in a prolix printed form drafted by the party seeking to enforce
 them.’” Nagrampa, 469 F.3d at 1280 (quoting Flores v. Transamerica HomeFirst, Inc., 93
 Cal.App.4th 846, 853 (2001)) (alteration in original).
              Here, McKee argues that Audible’s credit cancellation policies constitute surprise
 because they are not disclosed before consumers sign up and start paying for Credits. See SAC ¶
 128; McKee Opp’n at 10:12-20. McKee further argues that Audible’s policies are substantively
 unconscionable because they violate federal and state gift certificate and gift card laws. Id.
 McKee fails to specifically allege the second element required for procedural unconscionability:
 that of oppression. However, the Court would find that Audible’s policies have some procedural
 unconscionability given the alleged lack of disclosure, Audible’s superior bargaining power, and
 the fact the terms are offered on a take it or leave it basis. See Gatton v. T-Mobile, 152
 Cal.App.4th 571, 582 (2007) (finding procedural unconscionability in the consumer law context
 where contract was one of adhesion, drafted by T-Mobile, T-Mobile had superior bargaining
                                                        
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   The Court has already found that Plaintiff’s Gift Card law claims survive the pleading stage. See Ruling II. As a
 result, it is at least possible that Defendant’s policies are “prohibited by law,” thereby triggering CLRA liability
 under Cal. Civ. Code § 1770(a)(14).
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 power, and consumers were required to accept all terms or forgo the service entirely). Moreover,
 Defendant does not appear to contest procedural unconscionability.
                        b. Substantive Unconscionability
        A contract term is substantively unconscionable “when it is unjustifiably one-sided to
 such an extent that it ‘shocks the conscience.’” Chavarria v. Ralphs Grocery Co., 733 F.3d 916,
 923 (9th Cir. 2013). However, California law does not limit substantive unconscionability to
 conduct that “shocks the conscience.” See Hahn v. Massage Envy Franchising, LLC, No. 12-
 CV-153-DMS(BGS), 2014 U.S. Dist. LEXIS 147899, *25-26 (S.D. Cal. Sept. 25, 2014)
 (“Defendant suggests that substantive unconscionability requires the degree of one-sidedness that
 shocks the conscience. Although some California appellate decisions frame the issue in these
 terms, this is not required.”) (citing Sonic-Calabasas A, Inc. v. Moreno, 57 Cal.4th 1109, 1145
 (2013)). As the California Supreme Court explained in Sonic-Calabasas:
                The unconscionability doctrine ensures that contracts, particularly
                contracts of adhesion, do not impose terms that have been
                variously described as “overly harsh,” “unduly oppressive,” “so
                one-sided as to shock the conscience,” or “unfairly one-sided.” All
                of these formulations point to the central idea that the
                unconscionability doctrine is concerned not with a simple old-
                fashioned bad bargain but with terms that are unreasonably
                favorable to the more powerful party. These include terms that
                impair the integrity of the bargaining process or otherwise
                contravene the public interest or public policy; terms (usually of an
                adhesion or boilerplate nature) that attempt to alter in an
                impermissible manner fundamental duties otherwise imposed by
                the law, fine-print terms, or provisions that seek to negate the
                reasonable expectations of the nondrafting party, or unreasonably
                and unexpectedly harsh terms having to do with price or other
                central aspects of the transaction.

 57 Cal.4th at 1145 (citations omitted).
        Here, McKee argues that Audible’s Credit cancellation policies are substantively
 unconscionable because they cause consumers to forfeit Credits they have already paid for,
 creating windfall profits for Defendant. See SAC ¶ 128. McKee also argues that the terms are
 substantively unconscionable because they violate federal and state gift card laws. See McKee
 Opp’n at 10.
        Defendant counters that the terms of Audible’s policies do not “shock the conscience”

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 because users like McKee only forfeit what they have paid for if they cancel without redeeming
 their Credits, or fail to redeem their Credits during the allotted time for use. See MTD SAC at 9.
 Defendant does not explain what purpose its cancellation and rollover policies serve apart from
 producing windfalls. As stated above, substantive unconscionability is not constrained by the
 legal buzzwords “shocks the conscience.” Sonic-Calabasas, 57 Cal.4th at 1145; see also, e.g.,
 Hahn, 2014 U.S. Dist. LEXIS at 25-26 (finding defendant’s membership terms were
 substantively unconscionable because they required forfeiting prepaid massages upon
 cancellation of membership).        Moreover, Defendant contends that its policies are not
 unconscionable as a matter of law, but fails to provide relevant authority from the consumer law
 context in support of its motion.       As McKee points out, the only case Defendant cites,
 Herskowitz v. Apple, Inc., 301 F.R.D. 460, 473-474 (N.D. Cal. 2014), did not find that Apple’s
 “all sales are final” policy was not unconscionable as a matter of law. Herskowitz only discussed
 substantive unconscionability of that policy in the context of class certification. Id.
        To be fair, Plaintiff’s opposition also fails to cite any relevant case law analyzing the
 substantive unconscionability outside of the arbitration context. Nevertheless, based on the
 Court’s own research it appears that, when read in the light most favorable to McKee, McKee’s
 allegations concerning Audible’s cancellation and rollover terms are sufficient at the pleading
 stage. See, e.g., Hahn, 2014 U.S. Dist. LEXIS at 25-26 (finding defendant’s membership terms
 were substantively unconscionable because they required forfeiting prepaid massages upon
 cancellation of membership); Free Range Content, Inc. v. Google Inc., No. 14-CV-02329-BLF,
 2016 U.S. Dist. LEXIS 64365, *23-25 (N.D. Cal. Mar. 1, 2016) (finding that plaintiff
 sufficiently alleged unconscionability based on a GoogleAdSense contract term that permitted
 Google to withhold a customer’s funds for up to two months in the event a customer breached
 the agreement); Bayol v. Zipcar, Inc., 78 F.Supp.3d 1252, 1261-62 (N.D. Cal. 2015) (finding that
 plaintiff sufficiently alleged unconscionability based on Zipcar’s late fee provisions).
        In light of the cases cited above, and the fact that this case is still at the pleading stage,
 the Court would deny Defendant’s motion with respect to McKee’s unconscionability claim.
                3. McKee States a Claim for Unlawful Conduct under the UCL Based on
                CAPRL
        The eighth cause of action is brought under the theory that Defendant violated CAPRL,
 and thus UCL, by utilizing unlawful automatic renewal payment policies and providing
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 incomplete disclosures.       SAC ¶¶ 135-144.    The UCL prohibits any “unlawful, unfair or
 fraudulent business act or business.” Cal. Bus. & Prof. Code § 17200. “By proscribing any
 unlawful business practice, the UCL borrows violations of other laws and treats them as
 unlawful practices that the unfair competition law makes independently actionable.” Alvarez v.
 Chevron Corp., 656 F.3d 925, 933 n.8 (9th Cir. 2011) (alteration and internal quotation marks
 omitted). The UCL allows private plaintiffs to bring a UCL action when the conduct alleged
 violates a statute that does not give a private right of action. Marilao, 2009 WL 3007368, at *2.
 However, ‘“[i]f a plaintiff cannot state a claim under the predicate law, however, [the UCL]
 claim also fails.”’ Hadley v. Kellogg Sales Co., 243 F.Supp.3d 1074, 1094 (N.D. Cal. 2017)
 (quoting Stokes v. CitiMortgage, Inc., No. CV 14-02278 BRO (SHx), 2014 WL 4359193, *11
 (C.D. Cal. Sept. 3, 2011)).
        CAPRL makes it unlawful for a business making an automatic renewal offer to California
 consumers to:
     (1) Fail to present automatic renewal offer terms in a clear and conspicuous manner
         before the subscription agreement is fulfilled, and in visual proximity to the
         request for consent to the offer. Cal. Bus. & Prof. Code §17602(a)(1).

     (2) Charge the consumer’s credit, debit, or third party payment account without first
         obtaining the consumer’s affirmative consent to the agreement containing the
         automatic renewal offer terms. Cal. Bus. & Prof. Code §17602(a)(2).

     (3) Fail to provide an acknowledgement that includes the automatic renewal offer
         terms, cancellation policy, and information regarding how to cancel in a manner
         that is capable of being retained by the consumer. Cal. Bus. & Prof. Code §
         17602(a)(3).

 Further, “clear and conspicuous” means “in large type than the surrounding text, or in contrasting
 type, font, or color to the surrounding text of the same size, or set off from the surrounding text
 of the same size by symbols or other marks, in a manner that clearly calls attention to the
 language.” Cal. Bus. & Prof. Code § 17601(c).
        The Court dismissed this claim as alleged in the FAC because Plaintiff failed to detail the
 content of the disclosures that Audible did include during the sign-up process. See Ruling II at
 36-37. The Court also found that Plaintiff had standing to bring claims under the UCL (for
 violations of CAPRL) because he alleged that he made more payments to Defendant than he
 would have but for Defendant’s failure to disclose all the information required under CAPRL.

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 Id. at 29 (citing cases).
         Defendant moves for dismissal of Plaintiff’s eighth cause of action on two grounds.
 First, Defendant argues that Plaintiff still fails to detail the precise disclosures that he viewed
 upon sign up related to automatic payments. See MTD SAC at 10:2-24. Second, Defendant
 argues that McKee fails to allege that he suffered any harm as a result of Defendant’s failure to
 comply with CAPRL because McKee admits that he knew he would incur monthly charges on
 his credit card. Id. at 11:18-13:23.
         McKee counters that the SAC details the disclosures that he recalls seeing when he
 signed up for Audible and identifies several deficiencies. See McKee Opp’n at 1:12-17. McKee
 further argues that Defendant’s injury-in-fact argument was already considered and rejected by
 the Court. Id. at 2:1-13.
         The Court would find that McKee’s allegations in the SAC are sufficient to state a UCL
 claim based on CAPRL violations. This is because the SAC contains more detail than FAC, and
 includes the sum of the representations that McKee recalls seeing upon sign up. See SAC ¶ 139.
 These include representations that Audible costs $14.95 a month and that consumers can cancel
 at any time. Id. McKee also alleges several deficiencies in the disclosures, including: (1) that
 there is no clear reference that those monthly charges will be automatically charged to the
 designated credit card without additional notice; (2) that non-designated cards associated with
 Amazon accounts may be charged; (3) that Credits will expire upon cancellation; (4) that
 Audible does not specifically require consumers to agree to additional automatic charges; (5) that
 no mention is made that Audible may increase its monthly rates without notice; and (6) that no
 information concerning steps require to cancel appears. Id. Plaintiff also alleges that what
 disclosures did appear, appeared in small, inconspicuous font. Id. These allegations are enough
 to survive the pleading stage. See, e.g., Price v. Synapse Group, Inc., No. 16-CV-01524-BAS-
 BLM, 2017 WL 3131700, *6 (S.D. Cal. July 24, 2017) (denying motion to dismiss UCL claim
 where automatic renewal disclosures were not necessarily clear and conspicuous); Lopez v.
 Stages of Beauty, LLC, No. 17-CV-1888-MMA(KSC), 2018 WL 828127, *9-10 (same). This is
 particularly true given that Audible is plainly aware of the contents of its own webpages. It
 would hardly serve the purposes of Rule 12(b)(6) to require a complete recitation of information
 that Defendant already knows.
         As to Defendant’s standing argument, the Court would again find that McKee’s
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 allegation that he would not have signed up for Audible and/or continued to pay monthly fees but
 for the CAPRL violations is sufficient to establish standing. See Ruling II at 29. Contrary to
 Defendant’s briefing the Court found that Plaintiff had standing to assert CAPRL claims under
 the UCL. See id. (“Defendant started automatically charging McKee after his thirty-day trial end
 and McKee alleged he suffered harm by this action by making more payments than he would
 have made if there had been adequate disclosures of Defendant’s automatic charging practices
 during sign up.”). This conclusion remains consistent with most of the district courts that have
 considered similar motions to dismiss CAPRL claims. See Ingalls v. Spotify USA, Inc., No. C-
 16-03533-WHA, 2017 WL 3021037, *3-5 (N.D. Cal. July 17, 2017) (plaintiffs had standing to
 assert claims based on technical violations of CAPRL that led to additional unwanted monthly
 charges); Roz v. Nestle Waters N. Am., Inc., 2:16-CV-04418-SVW-JEM, 2017 U.S. Dist. LEXIS
 216072, *11 (C.D. Cal. Dec. 6, 2017) (“A plaintiff may [establish standing] by simply proving
 ‘that, had the omitted information been disclosed, one would have been aware of it and behaved
 differently.’”) (quoting Daniel v. Ford Motor Co., 806 F.3d 1217, 1225 (9th Cir. 2015)); Roz v.
 Nestle Waters N. Am., Inc.15, 2017 U.S. Dist. LEXIS 5177 at 25 (denying motion to dismiss for
 lack of standing based on CAPRL violations); Kissel v. Code 42 Software, Inc., No. SACV-15-
 1936-JLS(KESx), 2016 U.S. Dist. LEXIS 184368, *24-25 (C.D. Cal. Apr. 14, 2016) (finding
 injury in fact where defendant failed to comply with CAPRL requirements and defendant
 “charged and continue[d] to charge” plaintiffs’ credit card); cf. Kissel v. Omega Natural Sci,,
 Inc., CV-16-2770-GW(SKx) 2016 U.S. Dist. LEXIS 187625, *7-8 (C.D. Cal. Aug. 22, 2016)
 (finding no injury in fact where plaintiff failed to allege that “that she would have done anything
 differently with her [Product] subscription had she been sent a more robust email after making
 her purchase, that she was unable to manage or cancel her account, or that the supposed lack of a
 proper acknowledgment affected her in any way.”).16

                                                        
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   Roz involved shipments of water and thus, unlike the present case resolved the standing issue based on the
 unconditional gifts provision in § 17603, which might not apply to the present case. See Johnson v. Pluralsight,
 LLC, 236 F.Supp.3d 1176, 1183-84 (E.D. Cal. Feb. 16, 2017). However, the Court would agree with Plaintiff that,
 the issue of whether § 17603 applies to Audible Credits has not been fully briefed, nor does it need to be at this time.
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   Defendant’s argument that Plaintiff’s injury was actually caused by the alleged FAL violations as opposed to the
 CAPRL violations is unpersuasive. Had Plaintiff been provided with proper CAPRL disclosures, he might not have
 provided his credit card and/or permitted his card to be charged each month. As such, when his thirty day trial
 ended, he could not have been charged the monthly fee without additional authorization. Moreover, Defendant cites
 not authority for the proposition that two types of unlawful conduct, i.e. FAL violations and CAPRL violations
 cannot both give rise to the same injury. Given the significant case law permitting such claims and Defendant’s
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              In sum, the Court would deny Defendant’s motion with respect to Plaintiff’s UCL claim
 based on CAPRL.
                           4. McKee Fails to State a Claim for Restitution, Unjust Enrichment, and Money
                           Had and Received
              McKee’s tenth cause of action is for Restitution, Unjust Enrichment, and Money Had and
 Received. See SAC ¶¶ 150-155. The Court previously dismissed this claim because McKee
 failed to allege a specific sum of money had and received by Defendant. See Ruling II at 38.
 Defendant contends that the SAC also fails to state a claim under this cause of action. The Court
 would agree.
              “To plead a claim for unjust enrichment, a plaintiff must allege a receipt of a benefit and
 unjust retention of the benefit at the expense of another.” In re Apple In-App Purchase Litig.,
 855 F. Supp. 2d 1030, 1042 (N.D. Cal. 2009) (citing Sanders v. Apple, Inc., 672 F. Supp. 2d 978,
 989 (N.D. Cal. 2009)). “The foundation of an action for conversion on a money had and
 received count is the unjust enrichment of the wrongdoer, and in order for plaintiff to recover in
 such action she must show that a definite sum, to which she is justly entitled, has been received
 by Defendant.” Walter v. Hughes Communications, Inc., 682 F. Supp. 2d 1031, 1047 (N.D. Cal.
 2010) (quoting Bastanchury v. Times-Mirror Co., 68 Cal. App. 2d 217, 236 (1945)).
               “A plaintiff must plead that the defendant ‘is indebted to the plaintiff in a certain sum for
 money had and received by the defendant for the use of the plaintiff.’” Id. (quoting Schultz v.
 Harney, 27 Cal. App. 4th 1611, 1623 (1994)). California courts have held that when a “common
 count is used as an alternative claim seeking the same recovery demanded in a specific cause of
 action based on the same facts, the common count may be dismissed if the cause of action is
 dismissed.” In re Apple In-App Purchase Litigation, 855 F. Supp. 2d at 1032 (citing McBride v.
 Boughton, 123 Cal. App. 4th 379, 394-95 (2004)).
              Here, McKee assigns a value of $29.90 for the two Credits he lost as a result of
 Defendant’s cancellation policies. See SAC ¶ 153. However, he also alleges that he is owed an
 additional, still unspecific value reflective of the “premium” he paid based on Defendant’s false
 statements. Id. Therefore, at least as pled, it would appear that McKee again fails to allege that
 Audible is indebted to him for a “certain sum.” See Ruling II at 19 (citing Walter, 682 F.Supp.2d

                                                                                                                                                                                
 failure to include, much less address other district court’s handling of the issue, dismissal at this early stage is
 unwarranted.       
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 at 1047).
        McKee argues that he actually intended to bring two separate causes of action − one for
 the certain sum of $29.90 under a common count of Money Had and Received − and another for
 $29.90 plus the unspecific premium under a theory of Unjust Enrichment based on his FAL
 claims. See McKee Opp’n at 2-3. According to McKee, the Money Had and Received claim is
 based entirely on losing the value of his Credits upon cancelling his account.    Id. at 12:3-12.
 Alternatively, McKee contends that the premium, as well as the value of his Credits, was
 unjustly received as a result of the false statements made during the sign up process. Id. at
 11:26-12:2.
        In its Reply, Defendant argues that Plaintiff’s new Unjust Enrichment claim fails to the
 extent it includes an unspecific premium amount. See McKee Reply at 6:12-21. The Court
 agrees. As stated above, and in its previous ruling, under such a theory Plaintiff is required to
 plead a sum certain. Defendant also argues that, even if the Court were to consider Plaintiff’s
 “alternative” claim based solely on the expiration of his Credits, Plaintiff’s Credits were not a
 “certain sum for money had and received by the defendant for the use of the plaintiff.” Id. at 6
 (quoting Walter, 682 F.Supp.2d at 1048). The Court agrees with Defendant on both fronts.
        Plaintiff purchased a membership that came with Credits that were subject to certain
 cancellation policies. The value of the Credits, once purchased was not set at the cost of
 membership, but could be redeemed for audiobooks ranging in price. Thus, at base, Plaintiff did
 not entrust a sum certain to Defendant.        Secondly, the Audible business model differs
 substantially from the traditional setting where a defendant actually holds a given sum meant for
 a plaintiff’s benefit. Here, Audible did not hold onto anything for use by the Plaintiff. In the
 absence of case authority recognizing such a novel application of the doctrine of Money Had and
 Received, the Court would grant the MTD with respect to this claim.
        In sum, the Court would grant the MTD with respect to McKee’s tenth cause of action. It
 would not grant leave to amend given this was Plaintiffs’ third bite at the apple. See Chodos v.
 W. Publ. Co., 292 F.3d 992, 1003 (9th Cir. 2002) (“[W]hen a district court has already granted a
 plaintiff leave to amend, its discretion in deciding subsequent motions to amend is particularly
 broad.”).
        C. Conclusion
        The Court would GRANT Defendant’s Motion to Dismiss as to the Fifth and Tenth
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 causes of action with prejudice. The Court would DENY the Motion to Dismiss as to Seventh
 and Eighth Causes of Action.
 IV. Audible’s Motion to Compel Arbitration as to Plaintiffs’ Weber and Rogawski
        As mentioned briefly above, the Court would defer its ruling on this motion until April 2,
 2018. Both parties appear to agree that Defendant’s initial moving papers relied on evidence
 concerning a different Eric Weber than the one participating as a named plaintiff in this action.
 Defendant provided additional evidence concerning the correct Eric Weber in its Reply. Plaintiff
 may file a Sur-Reply in response to the new evidence Defendant submitted in its Reply papers
 with respect to Plaintiff Weber no later than March 22, 2018. The Court would also order the
 parties to meet and confer regarding the content of Audible’s mobile and standard websites on
 the dates that Plaintiffs’ Weber and Rogawski made purchases before the end of this week. If the
 parties cannot stipulate to that content the Court will expect an explanation as to why such a
 stipulation is impossible. Finally, because Plaintiff’s Motion for Corrective Action is also
 closely related to the motion to compel Weber and Rogawski, the Court will also defer ruling on
 that motion until April 2, 2018.
 V. Conclusion
        The Court would GRANT Defendant’s motion to dismiss the Out of State Plaintiffs and
 GRANT-IN-PART, DENY-IN-PART Defendant’s motion to dismiss as to Plaintiff McKee as
 stated herein. The Court would DEFER consideration of the other motions until April 2, 2018.
  




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